                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,
                                                           Case No. 25-cv-10676-BEM
              Plaintiffs,

                  v.
                                                           [PROPOSED] ORDER
 U.S. DEPARTMENT OF HOMELAND SECURITY;                     GRANTING PLAINTIFFS’
 Kristi NOEM, Secretary, U.S. Department of                EMERGENCY MOTION FOR
 Homeland Security, in her official capacity; Pamela       TEMPORARY RESTRAINING
 BONDI, U.S. Attorney General, in her official             ORDER
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

              Defendants.



       THIS MATTER comes before the Court on Plaintiffs D.V.D., M.M., E.F.D., and

O.C.G.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction on

behalf of Class Member N.M. and all other similarly situated class members. Having considered

the motion, the memorandum and exhibits in support thereof, and any subsequent submissions,

and the applicable law, the Court ORDERS as follows:


   1. Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED.

   2. Defendants, and all of their officers, agents, servants, employees, attorneys, successors,

       assigns, and persons acting in concert or participation with them are hereby ENJOINED

       and RESTRAINED from removing, and if necessary, ORDERED to immediately return

       N.M. and all other similarly situated class members from South Sudan (and any other

       third country) until Defendants provide the Court and Class Counsel with evidence that



                                                1
      Defendants have complied with all terms of the preliminary injunction, Dkt. Nos. 64 and

      86, including but not limited to:

      (a) written notices in the class members’ native language (and written notice to

      immigration counsel, if any);

      (b) written instructions on how to request and obtain a reasonable fear screening;

      (c) written notice of reasonable fear determinations resulting from such screenings; and

      (4) a fifteen-day window in which to file a motion to reopen with the immigration court if

      there is negative reasonable fear determination.

It is so ORDERED.



DATED this ___________ day of May, 2025.




                                            _________________________________________
                                            U.S. DISTRICT JUDGE BRIAN E. MURPHY




                                               2
